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ATTORNEYS FOR DEFENDANT CARVANA, LLC

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY
IRVING BODINE Il,
Plaintiff, : Hon. ,US.D.J.
Vv. Civil Action No, __- ( / 3)
CARVANA MOTOR CORPORATION; :
CARVANA LLC and JOHN DOES 1-5 , CORPORATE DISCLOSURE

AND 6-10, | STATEMENT PURSUANT TO
FED. R. CIV. P. 7.1

Defendants.

 

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and to enable judges
and magistrates of the Court to evaluate possible disqualification or recusal, the undersigned
counsel for Defendant, Carvana, LLC, certifies that: (i) it is a non-governmental entity; and (ii) it
is a subsidiary of Carvana Group, LLC, which is a subsidiary of Carvana Co., a publicly-traded
corporation.

Respectfully submitted,

JACKSON LEWIS P.C.

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By: /s/ Richard J. Cino
Richard J. Cino
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Attorneys for Defendant Carvana, LLC

Dated: August 31, 2018

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